 Case 1:14-cr-00138-PLM           ECF No. 26, PageID.47          Filed 09/16/14      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                            Case No. 1:14-CR-138

DELVON TOLBERT,                                               Hon. Paul L. Maloney

               Defendant.

                                              /


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on September 16, 2014, after receiving the written

consent of the defendant, the defendant's attorney, and the attorney for the government. These

consents were also placed on the record in open court.

               Defendant Devlon Tolbert is charged in Counts 2 and 3 of a three-count Indictment

with armed bank robbery, and with using and brandishing a firearm during and in relation to a crime

of violence. On the basis of this record, I found that defendant was competent to enter pleas of

guilty and that his pleas were knowledgeable and voluntary with a full understanding of each of the

rights waived by the defendant, that the defendant fully understood the nature of the charges and the

consequences of his pleas, and that the defendant's pleas had a sufficient basis in fact which

contained all of the elements of the offenses charged.

               There was no written plea agreement in this case, but there was an oral agreement.


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 Case 1:14-cr-00138-PLM           ECF No. 26, PageID.48           Filed 09/16/14       Page 2 of 2




               I accepted the pleas of guilty, subject to final acceptance of the pleas by the District

Judge. I ordered the preparation of a presentence investigation report.

                                        Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's pleas of

guilty to Counts 2 and 3 of the Indictment be accepted, and that the court adjudicate the defendant

guilty of those charges.



Dated: September 16, 2014                             /s/ Hugh W. Brenneman, Jr.
                                                      HUGH W. BRENNEMAN, JR.
                                                      United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen (l4) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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